Case 5:19-cv-00245-JGB-KK Document 91 Filed 04/22/21 Page 1 of 1 Page ID #:1419




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  3
  4                         UNITED STATES DISTRICT COURT

  5          CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

  6
       RITA LOOF, RENE LOOF, and RACHEL                 Case No. EDCV 5:19-cv-245 JGB
  7                                                                (KKx)
       LOOF, Individuals,
  8
                                          Plaintiffs,
  9                                                             JUDGMENT
                     v.
 10
       UPLAND UNIFIED SCHOOL DISTRICT,
 11
 12                                     Defendant.

 13
 14   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 15         Pursuant to the Order filed concurrently herewith, the Motion for Summary
 16   Judgment filed by Upland Unified School District is GRANTED as to all of
 17   Plaintiffs’ claims.
 18
 19    Dated: April 22, 2021
 20
                                            THE HONORABLE JESUS G. BERNAL
 21                                         United States District Judge
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